      Case 3:22-cv-00843-BAJ-RLB          Document 29      09/13/24    Page 1 of 14




                       UNITED STATES DISTRICT COURT

                       MIDDLE DISTRICT OF LOUISIANA


 JASON BROUSSARD CIVIL ACTION

 VERSUS

 EXXON MOBIL CORPORATION NO. 22-00843-BAJ-RLB

                               RULING AND ORDER

      Plaintiff Jason Broussard, former employee of Defendant Exxon IVIobil

Corporation who resigned in early 2022, sued Exxon for its allegedly improper

calculation of his pension benefit and for its alleged failure to pay a shift differential

between 2015 and 2020. Plaintiffs additional claim, for failure to timely pay vacation

pay, was dismissed with prejudice pursuant to the parties' joint motion to dismiss.


(See Doc. 26). Now before the Court is Defendant's MEotion for Partial Summary

Judgment (Doc. 20, the "IVtotion") on the pension and shift differential claims. The

Motion is opposed. (Doc. 23). For the reasons that follow, the Motion will be granted.


      I. BACKGROUND

             a. Summary Judgment Evidence


      The following facts are drawn from Defendant's Statement of Material Facts


(Doc. 20-2, hereinafter "Defendant's SOF"), Plaintiffs Statement of Disputed Facts

(Doc. 23-2, hereinafter "Plaintiffs Response SOF"), Defendant's Reply Statement of


Material Facts (Doc. 24-1, hereinafter "Reply SOF"), the parties' Joint Proposed


Pretrial Order (Doc. 27) and the record evidence submitted in support of these

pleadings.
       Case 3:22-cv-00843-BAJ-RLB            Document 29       09/13/24      Page 2 of 14




       Plaintiff was employed by Defendant in Baton Rouge, Louisiana, to "provid[e]

security services to both a refinery and chemical plant." (Defendant's SOF ^ 2).


Plaintiff was promoted to the position of Security First Line Supervisor in September

2015. {Id. ^ 1). In February 2022, Plaintiff transferred to a Leak Detection and Repair

Specialist position. (Id. ^ 3). At the Baton Rouge plants, First Line Supervisors

working in Operations were paid shift differential pay of $150 per month because

their schedules shifted frequently between night and day shifts. (Id. If 7). First Line

Supervisors in Security, on the other hand, were not paid shift differential pay. (Id.


T[ 8). Plaintiff testified that he was "well aware that there was a difference between

the way that they treated us [Security] and others [Operations], and [Operations] got

benefits that we did not have." (Id. ^ 9 (citing deposition testimony)). Plaintiffs

employment contract with Defendant did not provide for shift differential pay. (Id. ^

5).

       In October 2021, Defendant began paying First Line Supervisors in Security,

like Plaintiff, a shift differential pay of $150 per month, with retroactive payments

made to January 1, 2021. (Id. ^ 13).1

       Defendant provides employees, including Plaintiff, with a pension plan, which

is subject to the federal Employee Retirement Income Security Act (ERISA), 29 U.SC.

  1001, et seq. (Id. If 24).




1 Plaintiff denies that he was paid a retroactive shift differential for the period of January 1
to January 15, 2021. (Plaintiffs Response SOF ^[ 13). But this is irrelevant to Plaintiffs claim
in the First Amended Complaint, which is for shift differential pay for the period of "2015
until the end of 2020." (Doc. 14 If 8).
        Case 3:22-cv-00843-BAJ-RLB           Document 29        09/13/24     Page 3 of 14




        Plaintiff resigned from Defendant's employ on February 28, 2022. (Id. ^ 18).2

Before submitting his resignation, Plaintiff used Defendants online pension

calculator to see the amount he would receive upon separation. (Plaintiffs SOF ^ I).3


The calculator represented that Plaintiffs pension payout would be $346,185.15. (Id.

^f 2). In the Qualified Lump Sum Distribution Election Form that Plaintiff used to

choose the lump sum payout option, the amount of the 100% lump sum option was


listed as $346,271.40. (Doc. 23-6 at 12). That letter explicitly warned, however, that:


        [The] lump sum payment will vary as the three segment interest rates
        change. An increase in the interest rates will reduce your lump sum
        benefit; a decrease in the interest rates will result in a larger lump sum
        payment. Your final lump sum amount will be based on the interest
        rates in effect at the time you commence your benefit.


{Id. (emphasis removed)).

        After Plaintiff resigned in February 2022, his pension payout was only

$285,822.67. (Doc. 23-7 at 2). After discovering this, Plaintiff sent a letter in May to

the ExxonMobil Benefit Service Center (EMBSC), which administered the pension in

question, explaining the background to his resignation, the lump sum amount he


expected to receive, a request for "the policy . . . that describes the calculation of


commencement date for vested employees, and a "written explanation as to why" the




2 The parties dispute the date of Plaintiffs last day of employment, (see Defendant's SOF ^
18), but for purposes of the Court's decision on the Motion, which finds that Plaintiffs pension
claim is preempted by federal law, the exact date is irrelevant.
3 Plaintiff attaches a screenshot of what he describes as the pension calculation he received.
(Doc. 23-3). Defendant strenuously objects to this photo, arguing that it is unauthenticated,
inadmissible, and iUegible. "At the summary judgment stage, evidence need not be
authenticated or otherwise presented in an admissible form." M-aurer v. Indep. Town, 870
F.3d 380, 384 (5th Cir. 2017). What's more, the Court can read the text on the image perfectly
well.
      Case 3:22-cv-00843-BAJ-RLB            Document 29       09/13/24    Page 4 of 14




information was not provided prior to his separation. (Doc. 20-4 at 36). Plaintiff


characterizes this letter as a "written claim," (Plaintiffs SOF ^ 13), but EMBSC did

not treat the letter as such. Instead, EMBSC responded, in October, with a letter


providing a "Benefit Calculation Statement" along with an explanation of how


Plaintiff could file a claim. (Doc. 20-4 at 39). Prior to receiving the letter from EMBSC,

Plaintiff, through counsel, filed this lawsuit in state court. (Doc. 1-1).


       The Summary Plan Description (SPD) of the pension in question sets forth the

"claims procedures" for filing a claim and subsequent appeal. (Defendant's SOF ^ 25).


After receiving a claim, EMBSC will review the claim and respond. (Id. ^ 27). If the

claim is denied, the plan participant will receive a written notice of the decision,


describing "the specific reasons for the denial and the provisions upon which they are


based," and the "process for requesting an appeal." (Id. ^ 28). Under the SPD, if a


claim is denied in whole or in part, an appeal is required in order for [a participant]

to preserve [the participant's] right to bring a civil action in court. (Id. ^ 29). Plaintiff

did not file an appeal. (Reply SOF ^ 14).

              b. Procedural History


       Plaintiff filed this lawsuit in September 2022 in the Nineteenth Judicial

District Court for the Parish of East Baton Rouge, Louisiana. (Doc. 1). In October,


Defendant removed the case to this Court, asserting this Court's federal diversity


jurisdiction pursuant to 28 U.S.C. § 1332. (Id. at 2). Defendant also asserted this


Court's federal subject matter jurisdiction under 28 U.S.C. § 1331, alleging that

Plaintiffs claim for additional pension benefits is subject to the federal Employee
      Case 3:22-cv-00843-BAJ-RLB          Document 29       09/13/24     Page 5 of 14




Retirement Income Security Act (ERISA), 29 U.SC. § 1001, et seq., and is preempted

by federal law. {Id. at 3). In November 2023, Plaintiff filed a First Amended

Complaint. (Doc. 14).


       Plaintiff seeks the following pursuant to the Louisiana Wage Payment Act, La.


R.S. § 23:631, et seq.: (1) statutory penalties and attorney's fees for Defendant's


alleged failure to timely pay Plaintiffs vacation pay; (2) wages, statutory penalties,

and attorney's fees for Defendant's alleged improper calculation of Plaintiffs pension


benefit; and (3) wages, statutory penalties, and attorney's fees for Defendant's alleged


failure to pay a shift differential between 2015 and 2020. (See id.).

       As explained above, Plaintiffs vacation pay claim was dismissed at the joint

request of the parties. (Doc. 26). Defendant s JVIotion seeks summary judgment on


Plaintiffs remaining claims.


       II. LAW AND ANALYSIS

              a. Standard


       Federal Rule of Civil Procedure 56(a) provides that the Court may grant

summary judgment only "if the movant shows that there is no genuine dispute as to


any material fact and the movant is entitled to judgment as a matter of law." Fed. R.


Civ. P. 56(a). If the movant bears its burden, the nonmoving party "must do more


than simply show that there is some metaphysical doubt as to the material facts."


Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986). "Where


the record taken as a whole could not lead a rational trier of fact to find for the non-


moving party, there is no 'genuine issue for trial."' Id. at 587. Stated differently, "[i]f
       Case 3:22-cv-00843-BAJ-RLB          Document 29       09/13/24    Page 6 of 14




the party with the burden of proof cannot produce any summary judgment evidence


on an essential element of [their] claim, summary judgment is required." Geiserman


v. MacDonald, 893 F.2d 787, 793 (5th Cir. 1990).

              b. Discussion


       Defendant seeks summary judgment on Plaintiffs claim for pension benefits

because the claim is preempted by ERISA, and, in the alternative, because Plaintiff

failed to exhaust his administrative plan remedies for his pension claim. (See Doc.


20-1 at 1). Defendant seeks summary judgment on Plaintiffs claim for the shift

differential payment because there is no evidence that Plaintiff was entitled to such

additional pay during the period alleged, and, in the alternative, because Plaintiffs

claim should be limited by Louisiana's three-year prescription period. The Court will


address each argument in turn.


                     i. Plaintiffs Pension Claim is Preempted by ERISA

       "The purpose of ERISA is to provide a uniform regulatory regime over


employee benefit plans." MedARC, LLC v. Scott & White Health Plan, No. 3:20-CV-


3241, 2022 WL 3044569, at *10 (N.D. Tex. Aug. 1, 2022) (quoting Aetna Health Inc.

v. Davila, 542 U.S. 200, 209 (2004)). To this end, ERISA Section 502(a)(l)(B) provides

a civil enforcement provision for plan participants. It states that a participant may


bring a civil action "to recover benefits due to him under the terms of his plan, to


enforce his rights under the terms of the plan, or to clarify his rights to future benefits

under the terms of the plan." 29 U.S.C. § 1132(a)(l)(B); Aetna Health, Inc. v. Davila,

524 U.S. 200, 209 (2004). However, this civil enforcement remedy is designed to be



                                             6
      Case 3:22-cv-00843-BAJ-RLB        Document 29      09/13/24    Page 7 of 14




"the exclusive vehicle for actions by ERISA-plan participants." Pilot Life Ins. Co. v.


Dedeaux, 481 U.S. 41, 52 (1987).

      To achieve this, Section 514(a) provides that ERISA shall supersede any and

all State laws insofar as they may now or hereafter relate to any employee benefit


plan." 29 U.S.C. § 1144(a). The Supreme Court has "observed repeatedly that this


broadly worded provision is 'clearly expansive.'" Egelhoff v. Egelhoff, 532 U.S. 141,


146 (2001). So, as the Supreme Court stated in Davila, "any state-law cause of action


that duplicates, supplements, or supplants the ERISA civil enforcement remedy


conflicts with the clear congressional intent to make the ERISA remedy exclusive,


and is therefore preempted." 524 U.S. at 209.


      Here, it is undisputed that Plaintiffs pension plan is governed by ERISA. (Id.

Tf 24). Despite this, Plaintiff has not challenged his pension payment under ERISA,

but rather has sued under the Louisiana Wage Payment Act, a state law. Plaintiffs


First Amended Complaint does not mention ERISA. Instead, he asserts only a state


law claim and argues that his "claim sounds in breach of a perfected agreement to


pay wages due." (Doc. 23 at 15).


      Under U.S. Court of Appeals for the Fifth Circuit precedent, "to determine


whether a state law relates to a plan for purposes of ERISA preemption, the court


asks '(1) whether the state law claims address areas of exclusive federal concern, such


as the right to receive benefits under the terms of an ERISA plan; and (2) whether

the claims directly affect the relationship among the traditional ERISA entities—the

employer, the plan and its fiduciaries, and the participants and beneficiaries."'




                                           7
      Case 3:22-cv-00843-BAJ-RLB         Document 29       09/13/24    Page 8 of 14




McAteer v. Silverleaf Resorts, Inc., 514 F.3d 411, 417 (5th Cir. 2008) (quoting Woods

v. Tex. Aggregates, L.L.C., 459 F. 3d 600, 602 (5th Cir. 2006)).


      Here, Plaintiffs state law claim addresses an area of federal concern as it is


based solely on an allegedly improper pension distribution under Defendant's pension


plan. See Davila, 524 U.S. at 211 (finding that plaintiffs' claims 'related to' a benefit

plan where the only connection between the plaintiffs' and the third-party


administrator, CIGNA, was CIGNA's alleged mishandlmg of an ERISA-regulated

benefit plan). Likewise, Plaintiffs claim directly affect[s] the relationship among the

traditional ERISA entities because it is "dependent on, and derived from the rights

of the plan beneficiaries"—in this case Plaintiff—"to recover benefits under the terms


of the [ERISA] plan. Transitional Hosps. Corp. v. Blue Cross & Blue Shield of Texas,


Inc., 164 F.3d 952, 954-55 (5th Cir. 1999) (finding preemption of plaintiffs claim of

misrepresentation of coverage because ERISA "preempts all state laws insofar as


they relate to any employee benefit plan covered by the Act" (quotations omitted)).

      Plaintiff attempts to argue that instead of arising under ERISA, his claim

arises in contract, because communications from Defendant regarding his pension


payout suggested that he would receive more than he eventually did, and he argues


that his response to those communications constituted an acceptance of Defendant's


pension payout "offer." (See Doc. 23 at 12). But this argument is beside the point.


Plaintiffs claim here arises entirely from his status as a beneficiary under


Defendant's pension plan. Moreover, Courts in this circuit consistently hold that


breach of contract claims based on [an] alleged failure to pay the full amount of



                                           8
      Case 3:22-cv-00843-BAJ-RLB          Document 29       09/13/24    Page 9 of 14




benefits due under the terms of the [ERISA] policy are preempted." Transitional

Hosps. Corp., 164 F.3d at 955; see Hermann Hosp. v. MEBA Med. & Benefits Plan,


845 F.2d 1286, 1290-91 (5th Cir. 1988) (affirming district court's dismissal on ERISA

preemption grounds of hospitals state law breach of contract claims arising out of


assignment of patient's rights under health care policy); St. Luke's Episcopal Hosp. v.


Louisiana Health Serv. & Indem. Co., No. CIV.A. H-08-1870, 2009 WL 47125, at * 12


(S.D. Tex. Jan. 6, 2009) ("Because St. Luke's breach of contract theory is now


premised on its contractual rights under the health insurance policy as an assignee,


ERISA preempts the state-law breach of contract claim."). Regardless of the label it


bears, Plaintiffs claim is essentially a claim that he was wrongfully denied coverage


under an ERISA benefit plan.

      Plaintiff likewise finds no support in the case law. In the sole decision Plaintiff

cites on this issue, Aucoin v. Regions Fin. Corp., No. CIV.A. 09-3835, 2014 WL


2527046 (E.D. La. June 4, 2014), the court at summary judgment actually explained


that it had previously "found that all of [the plaintiffs] state law claims against

[defendants], except his claim for fraud, were preempted by ERISA, and dismissed

those claims. Id. at 2. In other words, in the very case Plaintiff cites in support of his


argument, the court did exactly the opposite of what he seeks here.


      Because no genuine dispute of material fact exists as to whether Plaintiffs


claim is preempted by ERISA, Defendant it is entitled to summary judgment as a

matter of law on this claim.




                                            9
     Case 3:22-cv-00843-BAJ-RLB         Document 29       09/13/24    Page 10 of 14




                    ii. Plaintiff Failed to Exhaust His Available
                           Administrative Remedies

      Even if Plaintiffs claim were not preempted by ERISA, Plaintiff has failed to

exhaust his available administrative remedies prior to filing suit. ERISA permits a

person denied benefits under an employee benefit plan to challenge that denial in

federal court." Metro. Life Ins. Co. v. Glenn, 554 U.S. 105, 108 (2008). Under 29 U.S.C.


 1133(2), every ERISAplan must "afford a reasonable opportunity to any participant

whose claim for benefits has been denied for a full and fair review by the appropriate

named fiduciary of the decision denying the claim." Before a claimant may sue to


receive benefits from an ERISA plan, the claimant "must first exhaust available


administrative remedies under the plan. Bourgeois v. Pension Plan for Emps. of


Santa Fe Int'l Corps., 215 F.3d 475, 479 (5th Cir. 2000). Because the exhaustion

requirement is an affirmative defense, the defendant has the burden of proof. Mission,


Toxicology, LLC v. UnitedHealthcare Ins., 499 F. Supp. 3d 338, 347 (W.D. Tex. 2020).


After the defendant carries its burden, the plaintiff has the burden to show an

applicable exception. Id.


      Defendant here argues that Plaintiff failed to exhaust the available

administrative remedies before filing this suit. (Doc. 20-1 at 11—12). Plaintiff argues

that the letter he sent in May 2022 requesting an explanation of the benefits

calculation was a claim. (Plaintiffs SOF If 13). Defendant disputes this, arguing that

the letter was only a request for information and was never treated as a claim. (Reply


SOF H 14).




                                          10
     Case 3:22-cv-00843-BAJ-RLB          Document 29       09/13/24    Page 11 of 14




      The Court finds that Plaintiff failed to exhaust the available administrative

remedies. First, Plaintiffs letter is framed as a request for information, not a claim.


(See Doc. 20-4 at 36). Second, even if Plaintiffs letter was a claim, Plaintiff filed this

lawsuit in state court prior to receiving any denial of the claim or filing any appeal of


a denial of the claim.


      A plaintiff is exempt from ERISA's exhaustion requirement "when such


attempts would be futile." Bourgeois, 215 F.3d at 479. "A failure to show hostility or


bias on the part of the administrative review committee is fatal to a claim of futility."

Plaintiff makes no argument or showing whatsoever that attempting to satisfy the

exhaustion requirements here would have been futile.


      For these reasons, even if Plaintiffs claim were not preempted by ERISA, he


has failed to satisfy the available administrative remedies, and summary judgment

will be granted to Defendant. See, e.g., Brushy Creek Fam. Hosp., LLC v. Blue Cross


Blue Shield of Texas, a Div. of Health Care Serv. Corp., No. 1:22-CV-00464, 2024 WL


2789389, at *3 (W.D. Tex. May 30, 2024), report and recommendation adopted sub


nom. Brushy Creek Fam. Hosp., LLC v. Blue Cross & Blue Shield of Texas, a Divison


of Health Care Serv. Corp., No. A-22-CV-00464, 2024 WL 3074393 (W.D. Tex. June


20, 2024) (granting summary judgment on ERISA claim for failure to exhaust

available administrative remedies); Martinez v. Prudential Ins. Co. of Am., 615 F.


Supp. 3d 519, 534 (S.D. Tex. 2022), appeal dismissed, No. 22-40538, 2022 WL

18776211 (5th Cir. Nov. 15, 2022) (same).




                                           11
     Case 3:22-cv-00843-BAJ-RLB          Document 29       09/13/24    Page 12 of 14




                      iii. Plaintiffs Shift Differential Claim Fails

       Plaintiffs final remaining claim is under the Louisiana Wage Payment Act

(LWPA) for retroactive payment of the $150 per month shift differential that he began

to receive in 2021.


       The LWPA is designed to compel prompt payment of earned wages upon an


employee's discharge or resignation." Davis v. St. Francisville Country Manor, L.L.C.,


2013-0190 (La. App. 1 Cir. 11/1/13), 136 So. 3d 20, 22. It requires an employer, upon

termination or resignation of an employee, to "pay the amount due under the terms


of employment." La. R.S. 23:631(A). "The LWPA requires that Plaintiffs prove they

were owed wages under a 'term of employment.'" Bennett v. McDermott Int'l, Inc., 855


F. App'x 932, 939 (5th Cir. 2021).

      Defendant argues that Plaintiff "had no employment contract" or "employment


policy or agreement. . . for the [shift differential] payment prior to January 1, 2021,"


and therefore his LWPA claim for such payments between 2015 and 2020 fails. (Doc.

20-1 at 13—14). Plaintiff fails to respond in substance to this argument. (Doc. 23 at

22-24). Instead, Plaintiffs brief assumes his eligibility for shift differential pay prior

to 2021 but does not attempt to explain the basis for this assumption.

      From what the Court can glean from Plaintiffs briefing, which generally only

contests whether his claim is prescribed, Plaintiffs argument is that because


Defendant began paying him the shift differential in 2021, they should have been

paying it to him all along. (See Doc. 23 at 23 ("[Plaintiffs] eligibility for shift

differential compensation was not revealed to him until October 2021.")). But a




                                           12
     Case 3:22-cv-00843-BAJ-RLB         Document 29      09/13/24    Page 13 of 14




successful LWPA claim requires more. See Bennett, 855 F. App'x at 939 ("The LWPA


requires that Plaintiffs prove they were owed wages under a term of employment.'").


      It is undisputed that Plaintiffs employment contract with Defendant did not

provide for shift differential pay. (Defendant's SOF ^ 5). The mere fact that

Defendant began to pay Plaintiff shift differential pay in 2021 does not, alone,

establish that Plaintiff was owed such pay earlier. This is because the LWPA "is

directed only at payment, upon termination, of'agreed-upon' compensation." Kerek v.


Crawford Elec. Supply Co., Inc., No. CV 18-76-RLB, 2020 WL 4906050, at *5 (M.D.


La. Aug. 20, 2020), aff'd, 833 F. App'x 593 (5th Cir. 2021) (emphasis added). Plaintiff

has put forward no evidence that he had an agreement with Defendant under which


Defendant would provide shift differential pay prior to 2021. For this reason, his

claim fails, and summary judgment will be granted to Defendant on this claim.4


      III. CONCLUSION

      Accordingly,


      IT IS ORDERED that Defendant Exxon Mobile Corporation's Motion for

Partial Summary Judgment (Doc. 20) be and is hereby GRANTED. Plaintiffs

claims against Defendant will be dismissed.




4 Because the Court finds that Plaintiff has no claim under the LWPA, the Court need not
address the parties' arguments regarding whether Plaintiffs claim has prescribed.

                                           13
Case 3:22-cv-00843-BAJ-RLB     Document 29     09/13/24    Page 14 of 14




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Judgment shall enter accordingly.


                    Baton Rouge, Louisiana, this *_"_ da|^ of September, 2024




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                               JUDGE BRIAN A. /ACJCSON
                               UNITED STATES tUSfRICT COURT
                               MIDDLE DISTRICT OF LOUISIANA




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